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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff-Respondent,

v.                                    MEMORANDUM OF LAW & ORDER
                                      Criminal File No. 10-69 (MJD/JJK)
                                      Civil File No. 13-1140 (MJD)

(16) MIGUEL ANGEL GARCIA,

                   Defendant-Petitioner.

Steven L. Schleicher, Assistant United States Attorney, Counsel for Plaintiff-
Respondent.

Miguel Angel Garcia, pro se.

      IT IS HEREBY ORDERED THAT the Court Reporter shall file an official

transcript of Petitioner’s Change of Plea hearing, held on August 31, 2010. An

order on Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody [Docket No. 813] will follow.




Dated: December 19, 2013                     s/ Michael J. Davis
                                             Michael J. Davis
                                             Chief Judge
                                             United States District Court
